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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF CONNECTICUT

NICOLE WADE ET AL.,                                   :               No. 3:21-cv-00924-JAM
          Plaintiff,                                  :
                                                      :
                v.                                    :
                                                      :
UNIVERSITY OF CONNECTICUT                             :
BOARD OF TRUSTEES,                                    :
          Defendant.                                  :               JULY 30, 2021

               DEFENDANT’S MEMORANDUM OF LAW IN SUPPORT OF
                            MOTION TO DISMISS

       The Defendant, the University of Connecticut Board of Trustees (“UConn”), submits this

memorandum of law in support of its motion to dismiss the Plaintiffs’ Complaint pursuant to

Fed. R. Civ. P. Rule 12 (b) (1) for lack of subject matter jurisdiction. As set forth below, this

lawsuit is barred in its entirety by the Eleventh Amendment. Second, all three Plaintiffs lack

standing to challenge UConn’s COVID-19 vaccination requirements because they have either

obtained exemptions from the vaccination requirements, or never sought an exemption. Either

way, none of them have standing to sue.

       Accordingly, the Complaint must be dismissed.

       I.       BACKGROUND

                A.     UConn’s Vaccination Policy

       In response to the COVID-19 pandemic, on June 4, 2021, UConn approved a policy

(“Policy”) that required all incoming and returning students to be vaccinated against COVID-19

prior to returning to campus for the fall, 2020 semester. Daugherty Decl., ¶ 3 and Exhibit A.1

To comply with the Policy, students must either submit proof of their vaccination or obtain an



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      The Policy is available online at https://policy.uconn.edu/2021/06/04/covid-19-
immunization-record-requirement-for-students/.
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exemption. Id., ¶ 4. The Policy explains that students may obtain medical or non-medical

exemptions by submitting the appropriate form through an online portal, and contains hyperlinks

to the medical and non-medical exemption request forms so that students may easily access and

submit them. Id., ¶ 5 and Exhibit A.

                B.     Plaintiffs’ Lawsuit

       The Plaintiffs filed this lawsuit challenging the legality of the Policy on July 6, 2021.

Doc. 1. The Plaintiffs allege that imposing mandatory vaccinations as a condition for attending

UConn violates their Fourteenth Amendment procedural due process (count one) and substantive

due process (count two) rights; violates federal and state laws that require individuals to give

their informed consent before receiving vaccines that have been authorized for emergency use

(count three); and violates 42 U.S.C. § 1983 (count four).

                C.     All Three Plaintiffs Have Either Obtained An Exemption Or Never
                       Sought One

       As noted, the Policy permits students to obtain both medical and non-medical exemptions

from the vaccination requirements. Daugherty Decl., ¶ 3 and Exhibit A. Eleanor Daugherty, the

Dean of Students and Associate Vice President of Student Affairs at UConn, is responsible for

adjudicating requests for non-medical exemptions.2 Id., ¶¶ 1, 7. Ms. Daugherty considers a

number of factors in deciding whether to grant or deny such requests, id., ¶ 7, but has been them

extremely frequently. Of the 771 requests Ms. Daugherty has received (as of July 23, 2021), she

has granted 504 of them, and has not yet granted or denied the remaining requests, which remain

pending. Id., ¶ 9.




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       Requests for medical exemptions are reviewed and determined by medical providers.
Daugherty Decl., ¶ 6.
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       Plaintiff Nicole Wade is a current UConn student returning for the fall, 2021 semester.

Compl., ¶ 1. To date, Plaintiff Wade has not submitted a request for a medical or non-medical

exemption, or submitted proof that she has been vaccinated. Daugherty Decl., ¶ 10.

       Plaintiff Amy DiSalvatore has filed suit on behalf of her minor son, who will be an

incoming freshman at UConn in fall, 2021. Compl., ¶ 2. Plaintiff DiSalvatore requested a non-

medical exemption for her son June 15, 2021. Daugherty Decl., ¶ 11 and Exhibit B. Ms.

Daugherty granted the request, and notified Ms. DiSalvatore of that fact on July 23, 2021. Id.

       Plaintiff Dylan Barkasy is a current UConn student returning for the fall, 2021 semester.

Compl., ¶ 3. He requested a non-medical exemption on July 3, 2021. Daugherty Decl., ¶ 12 and

Exhibit C. Ms. Daugherty granted the request, and notified Ms. Barkasy of that fact on July 23,

2021. Id.

       II.     ARGUMENT

               A.      The Eleventh Amendment Bars This Case In Its Entirety

       The Eleventh Amendment bars suit against the states in federal court. Papasan v. Allain,

478 U.S. 265, 276 (1986). That immunity extends to any “state entity that is an ‘arm of the

State’ . . . .” Deposit Ins. Agency v. Superintendent of Banks (In re Deposit Ins. Agency), 482

F.3d 612, 617 (2d Cir. 2007) (internal quotation marks and citations omitted). The only way a

plaintiff can overcome the Eleventh Amendment bar is if: (1) Congress has abrogated the state’s

immunity; (2) the state has voluntarily waived its immunity; or (3) the suit falls within Ex Parte

Young because it seeks prospective injunctive relief against state officials in their official

capacities for ongoing violations of federal law. Id. Eleventh Amendment immunity “affects . . .

subject matter jurisdiction.” Atlantic Healthcare Benefits Trust v. Googins, 2 F.3d 1, 4 (2d Cir.

1993); see also Williams v. Marinelli, 987 F.3d 188, 196 (2d Cir. 2021).



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       In this case, the Plaintiffs have sued the UConn Board of Trustees, which is an “arm of

the state” that is entitled to Eleventh Amendment immunity. See e.g. Thurmand v. Univ. of

Conn., No. 3:18-CV-1140 (JCH), 2019 U.S. Dist. LEXIS 67690, at *10-11 (D. Conn. Apr. 22,

2019); Radolf v. Univ. of Conn., 364 F. Supp. 2d 204, 209 (D. Conn. 2005); see also e.g. Brown

v. W. Conn. State Univ., 204 F. Supp. 2d 355, 361 (D. Conn. 2002) (collecting cases holding that

Boards of Trustees for Connecticut state universities are entitled to Eleventh Amendment

immunity). The Plaintiffs cite no legal authority by which Congress has abrogated the State’s

immunity for any of their claims, or by which the State has voluntarily waived its immunity.3 Ex

Parte Young also does not apply because the Board is a state “entity,” not a “state official.”

Gaby v. Bd. of Trs., 348 F.3d 62, 63 (2d Cir. 2003); see also P.R. Aqueduct & Sewer Auth. v.

Metcalf & Eddy, Inc., 506 U.S. 139, 146 (1993) (Ex Parte Young “has no application in suits

against the States and their agencies”) (internal quotation marks omitted). The Eleventh

Amendment therefore bars this case in its entirety.

       In addition, to the extent the Plaintiffs ask this Court to enjoin the Policy on the ground

that UConn exceeded its statutory authority under Conn. Gen. Stat. §§ 10a-104 or 19a-131 (or

any other state law for that matter), see Compl., Count 3; Pl. Br. (Doc. 3), pp. 14-16, those

claims are all barred by the Eleventh Amendment for the additional reason that federal courts

lack authority to declare that state entities/officials have violated state law. See Pennhurst State

Sch. & Hosp. v. Halderman, 465 U.S. 89, 106 (1984); see also Raygor v. Regents of Univ. of

Minnesota, 534 U.S. 533, 541–42 (2002) (holding that the supplemental jurisdiction statute does

not “authorize district courts to exercise jurisdiction over claims against nonconsenting States”);


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         Although the Plaintiffs have challenged the Policy in part through § 1983, it is well
settled that that statute does not abrogate states’ Eleventh Amendment immunity. See e.g. Quern
v. Jordan, 440 U.S. 332, 341 (1979) (rejecting argument that “Congress intended . . . § 1983 to
override the traditional sovereign immunity of the states”).
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Dennehy v. Soto, 2018 WL 4936003, at *2 (D. Conn. Oct. 11, 2018) (Shea, J.) (holding that it is

well-established that “a federal court may not sit in judgment of whether a State or a State

official has complied with its own law”).

                 B.     The Plaintiffs Lack Standing

        “Three elements comprise the irreducible constitutional minimum’ of standing: the

individual initiating the suit must have (1) suffered an injury in fact, (2) that is fairly traceable to

the challenged conduct of the defendant, and (3) that is likely to be redressed by a favorable

judicial decision.” United States v. Smith, 945 F.3d 729, 736 (2d Cir. 2019) (quotation marks

omitted). None of the three Plaintiffs satisfy these requirements.

        Plaintiffs DiSalvatore and Barkasy lack standing because they have both obtained

exemptions from the vaccination requirements. Daugherty Decl., ¶¶ 11-12. Accordingly, they

have not, and will not, suffer the alleged injury that they complain of. The only injury they

identify in their Complaint is the fact that they have to either submit to a COVID-19 vaccine or

leave UConn. Compl., ¶¶ 9, 40, 44-45. And the legal challenges they raise to the Policy are

specific to mandatory vaccination.4 These Plaintiffs, however, have invoked the exemption

process provided by the Policy, obtained non-medical exemptions, and are thus able to attend




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         Having received exemptions, Plaintiffs DiSalvatore (her son) and Barkasy may be
subject to other health and safety measures that vaccinated students are not subject to, such as
mask-wearing and quarantine requirements. See Exhibit A. The Plaintiffs, however, do not
challenge the legality of those other safety measures or allege that they would suffer any harm
from them. Therefore, their potential subjection to these additional measures is not an injury-in-
fact that provides them with Article III standing. And even if it were, the Plaintiffs have not
pleaded any claim alleging that such measures would themselves be illegal or sought relief that
would preclude UConn from implementing them in the future if the Policy were invalidated.
Any purported injury based on those additional health and safety measures therefore would not
be redressed by the relief Plaintiffs seek, and cannot be the basis for conferring standing in this
case.
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UConn without getting vaccinated. Because they have not suffered—and will not suffer—the

only alleged injury they complain of, they lack standing.5

       Plaintiff Wade likewise lacks standing. Although she currently remains subject to the

vaccination requirement, that is only because she has deliberately chosen not to invoke the

exemption process that the other Plaintiffs—and hundreds of other students—have invoked.

Plaintiff Wade has provided no explanation for why she has not sought an exemption, nor has

she presented evidence or argument that the exemption process was unavailable to her. Nor

could she make such an argument. The exemption process was open to all students, and the

Policy instructs students about how to seek exemptions and provides hyperlinks to the health and

non-health exemption request forms so that students can readily access and submit them.

Daugherty Decl., ¶ 5 and Exhibit A. Plaintiff Wade needed only to submit a brief exemption

request form through the online portal in order to seek an exemption. Id. Indeed, UConn has

been frequently granting requests for non-health exemptions, as demonstrated by the fact that

Ms. Daugherty has granted 504 of the 711 such requests she has received, with the remaining

requests remaining pending (she has not yet granted or denied them). Id., ¶ 9.

       In other words, Plaintiff Wade very likely would have received an exemption had she

requested one. She cannot manufacture standing by refusing to submit to the administrative

exemption process that would have eliminated the very harm she now complains of. See e.g.

United States v. Decastro, 682 F.3d 160, 164 (2d Cir. 2012) (noting that “a plaintiff must

submit” to a policy in order to challenge it, and holding that a plaintiff who had never applied for

allegedly unconstitutional gun-licensing permit lacked standing to challenge the licensing laws);


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         Alternatively, Plaintiffs Disalvatore’s and Barkasy’s receipt of exemptions renders their
claims moot. E.g., Beechwood Restorative Care Ctr. v. Thompson, 494 F. Supp. 2d 181, 188
(W.D.N.Y. 2007) (claim becomes moot when plaintiff receives relief sought through non-
judicial means).
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Pucket v. Hot Springs Sch. Dist. No. 23-2, 526 F.3d 1151, 1161 (8th Cir. 2008) (“if a plaintiff is

required to meet a precondition or follow a certain procedure to engage in an activity or enjoy a

benefit and fails to attempt to do so, that plaintiff lacks standing to sue because he or she should

have at least taken steps to attempt to satisfy the precondition”); id. at 1163 (plaintiffs may not

“deliberately fail[] to request [the relief they seek] in an attempt to create a case or controversy

for the overriding purpose of challenging the constitutionality of [a policy]”); McCarthy v. Ozark

Sch. Dist., 359 F.3d 1029, 1037 (8th Cir. 2004) (“[t]o the extent the Schoolchildren challenge the

. . . application process under the new exemption, their claims . . . involve no concrete injury—

no Schoolchildren have applied for nor been denied exemption[s] under the new statute”);

Freedom from Religion Found., Inc. v. Lew, 773 F.3d 815, 821 (7th Cir. 2014) (plaintiffs lacked

standing where they had not sought or been denied an exemption); Burnett v. Okla. Dep't of

Corr., No. CIV-16-609-M, 2017 U.S. Dist. LEXIS 148306, at *12-13 (W.D. Okla. June 22,

2017) (holding that inmate lacked standing to challenge prison’s policy on religious

accommodations for meals because he failed to invoke the process for obtaining a religious

accommodation).

       III.    CONCLUSION

       For the foregoing reasons, UConn respectfully request that the Plaintiffs’ Complaint be

dismissed for lack of subject matter jurisdiction.




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                                  DEFENDANT,
                                  UNIVERSITY OF CONNECTICUT
                                  BOARD OF TRUSTEES

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                                CERTIFICATE OF SERVICE

       I hereby certify that on July 30, 2021, a copy of the foregoing was electronically filed.

Notice of this filing will be sent by e-mail to all parties by operation of the Court’s electronic

filing system. Parties may access this filing through the Court’s system.




                                             /s/ Timothy J. Holzman
                                             Assistant Attorney General




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